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              (4) that her use of the audio recordings be solely and expressly limited to
              "the purpose of assuring the accuracy of reports," while bearing in mind
              that "[t]he only official record of such proceedings shall continue to be that
              made by the official court reporter and the Clerk in accordance with law,"
              Local Rule 83.2(d); and

              (5) that "[a]udio ... recordings made pursuant to this [order] may not be
              broadcast or rebroadcast to the public, transferred or sold, [provided to
              others,] or used ... for commercial purposes," id.


       Use of recording applications or functionality on a cell phone, wearable, tablet, or

laptop device is specifically prohibited.

       By her signature below, Ms. Vrbin agrees to strictly comply with these

restrictions, and understands that the Court may revoke these privileges at any time,

and in its sole discretion.

       IT IS SO ORDERED on this 25th




                                               OT   L. □--� S
                                            UNITED STATES DISTRICT JUDGE




Tess Vrbin,
Accredited Online News Reporter/Contributor
ArkansasAdvocate. com
